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                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA



    ELIZABETH SINES ET AL.                                :   Case No. 3:17-CV-72

                  Plaintiff                               :   Judge MOON


                                                          :
           -v-

    JASON KESSLER ET AL.                                  :

                                                          :
                  Defendants
    _______________________________________________________

              MOTION TO DISMISS THE PLAINTIFF’S COMPLAINT
     ______________________________________________________


       Now comes defendant Christopher Cantwell and moves the Court to dismiss the

    Plaintiff’s claims against him pursuant to FRCP 12.


                                                Respectfully Submitted,


                                                s/ Elmer Woodard      __________
                                                ELMER WOODARD (VSB 27734)
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                                                Trial Attorney for Defendant




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                                   CERTIFICATE OF SERVICE

       I hereby certify this Notice and all accompanying documents were served via
       electronic mail on November 15, 2017 upon:

       All parties of record. No party is entitled to or has requested service by other means.

                                                         s/ Elmer Woodard
                                                         ___________________
                                                         E. Woodard (VSB 27734)




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